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                IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF FLORIDA
                             PENSACOLA DIVISION

UNITED STATES OF AMERICA

vs.                                           Case No: 3:99cr30/RV
                                                   3:05cv173/RV/MD
LARRY LEWIS
_____________________________________________________________________
                                      ORDER
        This cause comes on for consideration upon the magistrate judge's report and
recommendation dated May 27, 2005. The defendant previously has been furnished
a copy of the report and recommendation and has been afforded an opportunity to
file objections pursuant to Title 28, United States Code, Section 636(b)(1), and I have
made a de novo determination of those portions to which an objection has been
made.
        Having considered the report and recommendation and all objections thereto
timely filed by the parties, I have determined that the report and recommendation
should be adopted.
        Accordingly, it is now ORDERED as follows:
        1.    The magistrate judge's report and recommendation is adopted and
incorporated by reference in this order.
        2.    The motion to vacate, set aside, or correct sentence pursuant to 18
U.S.C. § 2255 (doc. 292) is summarily DISMISSED as untimely.
        DONE AND ORDERED this 28th day of June, 2005.


                                        /s/ Roger Vinson
                                        ROGER VINSON
                                        SENIOR UNITED STATES DISTRICT JUDGE
